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NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 C. TATE GEORGE,

                     Petitioner,
                                                               Civ. No. 17-2641
         v.                                                    ORDER

 UNITED STATES OF AMERICA,

                     Respondent.

THOMPSON, U.S.D.J.

        This matter having come before the Court by way of Petitioner’s second amended motion

to vacate, correct, or set aside his sentence pursuant to 28 U.S.C. § 2255, (ECF No. 25); and

Respondent having opposed the motion; and the Court having considered the submissions of the

parties; and for the reasons explained in the Opinion of today’s date;

        IT IS, on this 26th day of May, 2020,

        ORDERED that Petitioner’s second amended § 2255 motion (ECF No. 25) is DENIED;

and it is further

        ORDERED that a certificate of appealability is DENIED, 28 U.S.C. § 2253(c)(2); and it

is further

        ORDERED that Petitioner’s three motions to expedite, (ECF Nos. 40, 59, and 64) are

DENIED AS MOOT; and it is further

        ORDERED that Petitioner’s motion for an evidentiary hearing, (ECF No. 47), is

DENIED; and it is further
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          ORDERED that Petitioner’s motion to amend, (ECF No. 54), is DENIED; and it is

finally

          ORDERED that the Clerk of the Court shall serve a copy of this Order and

accompanying Opinion upon Petitioner by regular mail and mark this matter CLOSED.



                                                               /s/ Anne E. Thompson
                                                               ANNE E. THOMPSON, U.S.D.J.
